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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

DUSTIN JOHNSON,                                    §
                                                   §
         Plaintiff,                                §
                                                   §
v.                                                 §             Civil Action No. 4:22-cv-01187
                                                   §
FREEDOM MORTGAGE COPORATION,                       §
                                                   §
         Defendant.                                §

                           JOINT STIPULATION OF DISMISSAL

       Plaintiff Dustin Johnson (“Plaintiff”) and Defendant Freedom Mortgage Corporation

(“Defendant”) file this Joint Stipulation of Dismissal (the “Stipulation”) pursuant to Federal Rule

of Civil Procedure 41(a)(1)(ii) and respectfully show the Court as follows:

       Plaintiff and Defendant respectfully request that the Court sign an order of voluntary

dismissal as to Plaintiff’s claims against Defendant ordering:

       1. That this Joint Stipulation of Dismissal is granted; and

       2. That all of Plaintiff’s claims against Defendant in this action are dismissed without

prejudice; and

       3. That each party is to bear its respective costs and attorneys’ fees.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff and Defendant stipulate as

provided above and pray that the Court sign an order granting such stipulation. Plaintiff and

Defendant request all other relief to which they are entitled.




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                                                Respectfully submitted by:

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                              CERTIFICATE OF SERVICE

       The undersigned certifies that on August 22, 2022, a true and correct copy of the
foregoing document was delivered via ECF notification to the counsel of record listed below:

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                                                /s/ Mark D. Cronenwett
                                                MARK D. CRONENWETT




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